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 5
     Labor Smart, Inc.
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                               IN AND FOR THE DISTRICT OF ARIZONA
 8
      Labor Smart, Inc,                                Case No. CV-22-00357 PHX-JJT
 9               Plaintiff,
                                                       LABOR SMART’S REPLY TO
10    v.                                               COUNTERCLAIM
11    Jason Tucker et al.,
                                                       JURY TRIAL DEMANDED
                 Defendants.
12

13          Plaintiff/Counterclaimant Labor Smart, Inc., through its counsel, for its Reply to the
14   Counterclaim, hereby admits, denies and alleges as follows:
15
                                           THE PARTIES
16
            1.     Labor Smart denies each and every allegation of the Counterclaim not
17
     specifically admitted herein.
18
            2.     Answering paragraph 1, upon information and belief, Labor Smart admits the
19
     allegations contained therein.
20
            3.     Answering paragraph 2, Labor Smart denies the first sentence, with the
21
     exception that Labor Smart is a Wyoming corporation. Labor Smart admits the second
22

23   sentence.

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 1          4.     Answering paragraphs 3, 4, 5, 6, 7 and 8, Labor Smart admits the allegations

 2   contained therein.

 3          5.     Answering paragraph 9, the allegations are legal conclusions. Labor Smart is
 4   without sufficient information or knowledge with which to form a belief as to the truth of the
 5
     allegations contained therein and therefore denies same.
 6
            6.     Answering paragraph 10, the allegations are legal conclusions. Labor Smart
 7
     denies the allegations contained therein.
 8
                                   JURISDICTION AND VENUE
 9
            7.     Answering paragraph 11, Labor Smart admits the allegations contained therein.
10
            8.     Answering paragraph 12, Labor Smart admits that Takeover, Holley, McBride
11

12   and Pavlik have appeared in this case. Labor Smart is without sufficient information or

13   knowledge with which to admit or deny the remaining allegations and therefore denies same.

14          9.     Answering paragraph 13, Labor Smart denies the allegations contained therein.

15                        GENERAL AND FACTUAL ALLEGATIONS
                             History of Takeover and Labor Smart
16
            10.    Answering paragraph 14, Labor Smart denies the allegations contained therein,
17

18   with the exception that Labor Smart admits Holley has experience as an owner, manager and

19   officer of beverage companies.

20          11.    Answering paragraph 15, Labor Smart denies the allegations contained therein,

21   with the exception that Labor Smart admits that Holley and Toby McBride formed Takeover
22   in 2021, and that Takeover sold a product branded NXT LVL.
23

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 1          12.    Answering paragraph 16, Labor Smart denies the allegations contained therein,

 2   with the exception that Labor Smart admits that Takeover is a Nevada corporation, and that

 3   Takeover is a wholly-owned subsidiary of Labor Smart.
 4          13.    Answering paragraph 17, Labor Smart denies the allegations contained therein,
 5
     with the exception that Labor Smart admits Holley was a Director of Labor Smart.
 6
            14.    Answering paragraph 18, Labor Smart denies the allegations contained therein,
 7
     with the exception that Labor Smart admits that Pavlik was a Director and Officer of Takeover
 8
     and Labor Smart.
 9
            15.    Answering paragraph 19, Labor Smart denies the allegations contained therein,
10
     with the exception that Labor Smart admits that Takeover sold a product branded as NXT
11

12   LVL.

13          16.    Answering paragraph 20, Labor Smart denies the allegations contained in the

14   first sentence, with the exception that Labor Smart admits that Jason Tucker worked for

15   Takeover as a consultant. Labor Smart is without sufficient information or knowledge with

16   which to form a belief as to the truth of the allegation contained in the second sentence and
17   therefore denies same.
18
            17.    Answering paragraph 21, Labor Smart is without sufficient information or
19
     knowledge with which to form a belief as to the truth of the allegations contained therein and
20
     therefore denies same.
21
            18.    Answering paragraph 22, Labor Smart denies the allegations contained therein
22
     and specifically incorporates herein the Takeover Resolution and Minutes of Special Meeting.
23

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 1          19.    Answering paragraph 23, Labor Smart denies the allegations contained therein,

 2   with the exception that it admits Takeover entered into various endorsement deals, including

 3   with Manny Pacquiao and/or his affiliated entities.
 4          20.    Answering paragraph 24, Labor Smart is without sufficient information or
 5
     knowledge with which to form a belief as to the truth of the allegations contained in the first
 6
     two sentences and therefore denies same. Labor Smart denies the remaining allegations.
 7
            21.    Answering paragraph 25, upon information and belief, Labor Smart denies the
 8
     allegations contained therein.
 9
            22.    Answering paragraph 26, Labor Smart is without sufficient information or
10
     knowledge with which to form a belief as to the truth of the allegations contained therein and
11

12   therefore denies same.

13          23.    Answering paragraphs 27 and 28, Labor Smart denies the allegations contained

14   therein.

15          24.    Answering paragraph 29, Labor Smart alleges the document speaks for itself.

16   Notwithstanding the foregoing, Labor Smart admits subparagraphs a, b, c, d, h and i.
17          25.    Answering paragraphs 30 and 31, Labor Smart denies the allegations contained
18
     therein.
19
            26.    Answering paragraph 32, Labor Smart denies the allegations contained therein,
20
     with the exception that Labor Smart admits that Holley, Tucker and McBride attended the
21
     tradeshow and that Takeover's NXT LVL Hydrogen Water was awarded the CSP Best New
22
     Beverage Product.
23

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 1          27.    Answering paragraphs 33 and 34, Labor Smart is without sufficient information

 2   or knowledge with which to form a belief as to the truth of the allegations contained therein

 3   and therefore denies same.
 4          28.    Answering paragraph 35, Labor Smart denies the allegations contained therein.
 5
            29.    Answering paragraph 36, Labor Smart is without sufficient information or
 6
     knowledge with which to form a belief as to the truth of the allegations contained therein and
 7
     therefore denies same.
 8
            30.    Answering paragraph 37, Labor Smart admits the allegations contained therein.
 9
            31.    Answering paragraph 38, Labor Smart denies the allegations contained therein.
10
            32.    Answering paragraph 39, Labor Smart denies the allegations contained therein,
11

12   with the exception that Takeover properly authorized Holley to control Takeover's funds as

13   its COO and CFO, in accordance with good corporate governance standards and practice.

14          33.    Answering paragraph 40, Labor Smart denies the allegations contained therein.

15          34.    Answering paragraphs 41 and 42, Labor Smart denies the allegations contained

16   therein. Labor Smart affirmatively alleges Sequeira was not the purchaser, and the amount
17   paid was $95,000.
18
            35.    Answering paragraph 43, Labor Smart denies the allegations contained therein,
19
     with the exception that it admits $25,000 was transferred to Takeover's bank account.
20
            36.    Answering paragraph 44, upon information and belief, Labor Smart denies the
21
     allegations contained therein.
22
            37.    Answering paragraph 45, Labor Smart admits the allegations contained therein,
23
     with the exception that the date is unknown.
24

                                                    5
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 1          38.    Answering paragraph 46, Labor Smart admits $15,000 was paid to Takeover's

 2   bank account. Labor Smart denies the remaining allegations.

 3          39.    Answering paragraph 47, Labor Smart is without sufficient information or
 4   knowledge with which to form a belief as to the truth of the allegations contained therein and
 5
     therefore denies same, with the exception that Labor Smart alleges that all payments made to
 6
     Holley were duly authorized by Takeover, as was the hiring of Courtney Holley to assist
 7
     Holley while he was ill with COVID 19 and hospitalized.
 8
            40.    Answering paragraph 48, Labor Smart denies the allegations contained therein.
 9
            41.    Answering paragraph 49, Labor Smart denies the allegations contained therein,
10
     with the exception that Takeover's counsel sent a letter, which Labor Smart incorporates by
11

12   this reference.

13          42.    Answering paragraphs 50 and 51, Labor Smart denies the allegations contained
     therein.
14
                           History of This Lawsuit and Current Stance(s)
15
            43.    Answering paragraph 52, Labor Smart admits this case originated by the filing
16
     of a Complaint by Takeover Industries, Inc., through its attorney, Veronica L. Manolio. The
17
     Complaint speaks for itself. Labor Smart denies the last sentence.
18

19          44.    Answering paragraphs 53, 54, 55, 56, 57 and 58, Labor Smart is without

20   sufficient information or knowledge with which to form a belief as to the truth of the

21   allegations contained therein and therefore denies same.

22          45.    Answering paragraph 59, Labor Smart denies the allegations contained therein.
23          46.    Answering paragraph 60, Labor Smart is without sufficient information or
24

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 1   knowledge with which to form a belief as to the truth of the allegations contained therein and

 2   therefore denies same.

 3          47.    Answering paragraphs 61 and 62, Labor Smart denies the allegations contained
 4   therein.
 5
            48.    Answering paragraph 63, Labor Smart admits in November 2022 there was a
 6
     special meeting of the Board of Directors of Labor Smart which discussed this case and other
 7
     matters. Labor Smart denies the remaining allegations of paragraph 63.
 8
            49.    Answering paragraphs 64 and 65, upon information and belief, Labor Smart
 9
     admits the allegations contained therein. Labor Smart affirmatively alleges that Tucker and
10
     his counsel (Ms. Manolio) were given notice of the Meeting and refused to attend.
11

12          50.    Answering paragraphs 66, 67 and 68, Labor Smart is without sufficient

13   information or knowledge with which to form a belief as to the truth of the allegations

14   contained therein and therefore denies same.

15          51.    Answering paragraph 69, Labor Smart denies the allegations contained therein.

16          52.    Answering paragraphs 70, 71 and 72, Labor Smart admits the allegations
17   contained therein, with the exception of the characterization that Deppoleto was an ‘investor’,
18
     which is denied.
19
            53.    Answering paragraphs 73, 74 and 75, Labor Smart denies the allegations
20
     contained therein.
21
            54.    Answering paragraph 76, Labor Smart denies the allegations contained therein.
22
            55.    Answering paragraph 77, Labor Smart denies the allegations contained therein.
23
            56.    Answering paragraph 78, Labor Smart denies the allegations contained therein.
24

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 1          57.    Answering paragraph 79, Labor Smart denies the allegations contained therein.

 2                                      COUNTERCLAIM I
                                         Breach of Contract
 3
                                     Against Labor Smart/LTNC
 4
            58.    Counterclaim I (Breach of Contract) was dismissed pursuant to the Court’s
 5
     Order, Doc. 189. Therefore, no Reply is required.
 6
                                       COUNTERCLAIM II
 7                                        Abuse of Process
 8                                   Against Labor Smart/LTNC

 9          59.    Answering paragraph 86, Labor Smart incorporates and realleges the

10   allegations of paragraphs 1 – 58 above, as if fully set forth herein.

11          60.    Answering paragraphs 87, 88 and 89, Labor Smart denies the allegations

12   contained therein.
13          61.    As and for its affirmative defenses, Labor Smart alleges estoppel, unclean
14
     hands, laches and waiver. Labor Smart reserves the right to allege any other affirmative
15
     defense which may be discovered, and which may be relevant to this matter.
16
            Wherefore, Labor Smart prays that Counterclaim II be dismissed with prejudice and
17
     that the Tuckers take nothing thereby, for its attorney's fees and costs, including post-
18
     judgment attorney's fees and costs, as permitted by law, and for such other and further relief
19
     as the court deems just and proper.
20

21   ///
22   ///
23   ///

24

                                                     8
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 1                                    COUNTERCLAIM III
                               Aiding and Abetting Tortious Conduct
 2                                  Against Labor Smart/LTNC
 3
            62.    Answering paragraph 90, Labor Smart incorporates and realleges the
 4
     allegations of paragraphs 1 – 61 above, as if fully set forth herein.
 5
            64.    Answering paragraphs 91, 92, 93, 94, 95 and 96, Labor Smart denies the
 6
     allegations contained therein.
 7
            65.    As and for its affirmative defenses, Labor Smart alleges estoppel, unclean
 8
     hands, laches and waiver. Labor Smart reserves the right to allege any other affirmative
 9

10
     defense which may be discovered, and which may be relevant to this matter.

11          Wherefore, Labor Smart prays that Counterclaim III be dismissed with prejudice and

12   that the Tuckers take nothing thereby, for its attorney's fees and costs, including post-

13   judgment attorney's fees and costs, as permitted by law, and for such other and further relief

14   as the court deems just and proper.
15
            RESPECTFULLY SUBMITTED this 13th day of December, 2024.
16

17                                                  PAUL M. LEVINE, P.C.

18                                                 By /s/ Paul M. Levine
19                                                   Paul M. Levine, Esq.
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20                                                   Scottsdale, Arizona 85258
                                                     Attorney for Plaintiff/Counterclaimant
21                                                   Labor Smart, Inc.

22
     ELECTRONICALLY FILED
23   this 13th day of December, 2024.

24

                                                     9
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 1   EMAILED this 13th day of December, 2024 to:

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